47 F.3d 1180
    NOTICE: Federal Circuit Local Rule 47.6(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.AMP INCORPORATED and the Whitaker Corporation, Plaintiffs-Appellants,v.FUJITSU MICROELECTRONICS, INC. and Fujitsu Limited,Defendants-Appellants.
    Misc. Dkt. No. 411.
    United States Court of Appeals, Federal Circuit.
    Jan. 10, 1995.
    
      1
      M.D.Pa., 853 F. Supp. 808.
    
    
      2
      DISMISSED.
    
    ORDER
    ON PETITION FOR PERMISSION TO APPEAL
    
      3
      Upon consideration of the unopposed motion of Fujitsu to voluntarily dismiss its petition for permission to appeal,
    
    IT IS ORDERED THAT:
    
      4
      (1)  The motion is granted.
    
    
      5
      (2)  Each side shall bear its own costs.
    
    